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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

AARYANA MALCOLM, LAVELL
WILLIAMS, SHELLE BROOKS,
Kristina Bohnenkamp, Carrie Casarez,        Civil Action No. 20-cv-2503 MJD/LIB
Noelle Dubray, Pauline Hemicker,
Kimberly Inabnit, Cassandra Kasowski,
Kristen Martin, Joy Ramos, KELLY
SORENSON RAFAI, KATHERINE
REED, Chasstady Walker, on behalf of           MEMORANDUM OF LAW IN
themselves and a class of similarly-           SUPPORT OF PETITIONERS’
situated individuals,                          MOTION FOR TEMPORARY
                                                 RESTRAINING ORDER
                   Petitioners,

v.

M. STARR, in her official capacity as
Warden of the Federal Correctional
Institution, Waseca, and MICHAEL
CARVAJAL, in his official capacity as
Director of the Bureau of Prisons,

Respondents.

AMERICAN CIVIL LIBERTIES                      BALLARD SPAHR LLP
UNION OF MINNESOTA

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                                       Introduction

       “Bringing positive inmates into a facility that doesn’t have any infections and
       watching it erupt—there’s no denying it’s a screw-up. It just blows my mind
       they did this.” —Corrections officer at FCI-Waseca.1

       Petitioners are inmates at FCI-Waseca, a low-security women’s prison, who,

because of their age or other factors, are highly vulnerable to COVID-19. That disease has

spread like wildfire through FCI-Waseca, infecting more than 70% of its inmates.

Respondents, by blatantly disregarding BOP policies and DOJ and CDC guidance, lit that

wildfire and continue to stoke it. Absent a TRO, Petitioners face serious illness and death

as Respondents continue violating Petitioners’ constitutional and statutory rights by

condemning them to close quarters without adequate social distancing and other COVID-

19 prevention and treatment measures.

       Over the past several months, Respondents have ignored the risks of COVID-19,

intermingling infected inmates with healthy ones, failing to provide even the most basic

personal protective equipment (“PPE”) and cleaning supplies, failing to require staff and

inmates to wear the PPE they do provide, and leaving the sickest inmates to self-medicate

and sleep on wet floors. Even now, they ignore the risks of infection, re-infection, and

death by regularly busing-in new inmates; serving meals in a crowded cafeteria; having

inmates from one unit serve food to inmates in other units; having inmates work overtime




1
      Keegan Hamilton, A Super-Spreader Jail Keeps Sparking COVID Outbreaks Across
the US, VICE NEWS (Oct. 13, 2020), https://www.vice.com/en/article/889w8p/a-super-
spreader-jail-keeps-sparking-covid-outbreaks-across-the-us.
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at a crowded prison factory; and failing to meaningfully exercise their authority to protect

prisoners from illness and death by releasing them from custody or to home confinement.

       In the face of such wanton indifference, the Court should order Respondents to

release or home-confine all women in the proposed class currently or in the future

imprisoned at FCI-Waseca during the COVID-19 pandemic.2 In the alternative, it should

order Respondents to implement and enforce social distancing, quarantine, and other

measures set forth in Petitioners’ proposed order. Such relief won’t only protect the Class

from irreparable harm, it will protect Respondents’ staff and the public living in

surrounding communities.




2
        The Class is: All persons currently or in the future imprisoned at FCI-Waseca during
the COVID-19 pandemic who are 50 and older or who have: cancer; chronic kidney
disease; chronic obstructive pulmonary disease (COPD); immunocompromised from solid
organ transplant; obesity with a body-mass index (BMI) of 30 or more; serious heart
conditions, such as heart failure, coronary artery disease, or cardiomyopathies; sickle cell
disease; type II diabetes mellitus; asthma (moderate to severe); cerebrovascular disease;
cystic fibrosis; hypertension; immunocompromised from blood or bone marrow transplant,
immune deficiencies, HIV, use of corticosteroids, or other immune-suppressing
medications; neurologic conditions, such as dementia; liver disease; pregnancy; pulmonary
fibrosis; smoking; thalassemia; type I diabetes mellitus.
        Petitioners Brooks, Malcolm, Walker, and Williams (“Subclass III Petitioners”) also
seek to represent Subclass III consisting of all current and future inmates at FCI-Waseca
who are medically vulnerable because of a disability as defined in the Rehabilitation Act ,
29 U.S.C. § 701 et seq.



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                                            Facts

I.     COVID-19 is an extremely contagious, dangerous disease particularly harmful
       to people over 50 or with underlying conditions.

       SARS-CoV-2, the causal pathogen of the COVID-19 disease, is extremely

infectious and deadly,3 causing a global pandemic4 and national and state emergencies.5 As

of December 10, nearly 70,000,000 have tested positive for COVID-19, and more than

1,500,000 have died.6 In the U.S., more than 15,500,000 have tested positive; nearly

300,000 have died.7

       The catastrophic consequences of the pandemic are due to (1) ease of

transmissibility and (2) severity of the disease.8 The virus is transmitted through respiratory




3
        Franco-Paredes Decl. ¶ 8; Baston Decl. ¶¶ 9, 12.
4
        The WHO declared COVID-19 a pandemic on March 11, 2020. WHO Director-
General's opening remarks at the media briefing on COVID-19 – 11 Mar. 2020, WHO
(Mar. 11, 2020), https://www.who.int/dg/speeches/detail/who-director-general-s-opening-
remarks-at-the-media-briefing-on-covid-19---11-march-2020.
5
        See President Trump, Proclamation on Declaring a Nat’l Emergency Concerning
the Novel Coronavirus Disease (COVID-19) Outbreak (Mar. 13, 2020),
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-
emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/;      Gov.     Walz,
Emergency Exec. Order 20-01, Declaring a Peacetime Emergency & Coordinating
Minnesota’s Strategy to Protect Minnesotans from COVID-19 (Mar. 13, 2020),
https://mn.gov/governor/assets/EO%2020-01_tcm1055-422957.pdf.
6
        COVID-19 Dashboard by the Ctr. for Sys. Sci. & Eng’g (CSSE), Coronavirus Res.
Ctr., Johns Hopkins Univ., https://coronavirus.jhu.edu/map.html (last visited Dec. 10,
2020).
7
        Id.
8
        Franco-Paredes Decl. ¶ 9.



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droplets,9 meaning one may become infected through close contact with an infected

individual (even if asymptomatic), or by touching virus-laden surfaces and then touching

one’s mouth, nose, or eyes.10

      As to its severity, the overall COVID-19 fatality-rate is estimated at 3.5% (more

than 35 times that of flu).11 Approximately 20% of cases require medical intervention12 and

it can trigger Acute Respiratory Distress Syndrome,13 which has a 40% mortality rate.14

COVID-19 can also cause grave injury to the heart and trigger immune system over-

response, worsening a patient’s outcome15 and damaging other organs or causing death.16




9
        What you should know about COVID-19 to protect yourself and others (“COVID-
19 Fact Sheet”), CDC (June 1, 2020), http://www.cdc.gov/coronavirus/2019-
ncov/downloads/2019-ncov-factsheet.pdf.
10
        Id.; Franco-Paredes Decl. ¶ 30; Baston Decl. ¶ 26.
11
        Baston Decl. ¶ 12.
12
        Baston Decl. ¶ 13; Franco-Paredes Decl. ¶ 23; Graham Readfearn, What Happens
to People’s Lungs When They Get Coronavirus? THE GUARDIAN (Mar. 24, 2020),
https://www.theguardian.com/world/2020/apr/15/what-happens-to-your-lungs-with-
coronavirus-covid-19.
13
        Franco-Paredes Decl. ¶ 16 (also explaining COVID-19 can severely damage lung
tissue, causing permanent loss of respiratory capacity); Baston Decl. ¶ 15; Lizzie Presser,
A Medical Worker Describes Terrifying Lung Failure From COVID-19—Even in His
Young         Patients,     PROPUBLICA         (Mar.       21,    2020)        (“Presser”),
https://www.propublica.org/article/a-medical-worker-describes--terrifying-lung-failure-
from-covid19-even-in-his-young-patients.
14
        Baston Decl. ¶ 15; Presser, note 13 supra.
15
        Franco-Paredes Decl. ¶ 18.
16
        Id. ¶¶ 18, 19.



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COVID-19 survivors report lingering, debilitating symptoms,17 representing new

morbidities, which may increase vulnerability upon reinfection (discussed below).18

       Two factors increase COVID-19’s severity. First, its severity is directly proportional

to viral load, the measurable virus upon exposure.19 Second, its severity varies significantly

depending on certain demographic and underlying health factors.20 At high risk are older

adults21 and people with underlying medical conditions (collectively, “medically

vulnerable individuals”).22




17
        Malam v. Adducci, 20-cv-10829-JEL-APP (E.D. Mich.), ECF No. 373-9, Exh. 8,
(“Malam Exh. 8”) ¶ 28.
18
        Malam Exh. 8, ¶ 28.
19
        Franco-Paredes Decl. ¶ 20 & nn.12–14 (citing studies).
20
        Baston Decl. ¶ 14.
21
        Individuals over 50 are more vulnerable to COVID-19, and those over 70 face a
higher risk of death from the disease. Franco-Paredes Decl. ¶ 14; Coronavirus Disease
2019 (COVID-19), Older Adults, CDC, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/older-adults.html.
22
        Coronavirus Disease 2019 (COVID-19), People at Increased Risk, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-increased-
risk.html.



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       Contracting COVID-19 doesn’t confer permanent immunity;23 immunity may only

last 90 days.24 Re-infected patients may suffer worse outcomes than from their first

infection.25

II.    Prisons like FCI-Waseca are ill-suited to manage COVID-19.

       Prisons across the country have been overrun with the virus,26 highlighting the ease

of transmission in congregate-living environments.27 Prisons are epicenters for infectious

diseases,28 including, COVID-19,29 because of how they’re designed and operated.30 FCI-

Waseca is no exception.



23
        Threat Assessment Br., Reinfection with SARS-CoV-2: public health response, Eur.
Ctr. for Disease Prevention & Control (Sept. 21, 2020), at 2-3; Franco-Paredes Decl. ¶ 22;
Baston Decl. ¶ 21.
24
        Coronavirus Disease 2019 (COVID-19), Duration of Isolation & Precautions for
Adults with COVID-19, CDC, https://www.cdc.gov/coronavirus/2019-ncov/hcp/duration-
isolation.html; Malam Exh. 8, ¶ 34.
25
        Akiko Iwasaki, What reinfection means for COVID-19, THE LANCET (Oct. 12,
2020), https://www.thelancet.com/journals/laninf/article/PIIS1473-3099(20)30783-
0/fulltext; Franco-Paredes Decl. ¶ 22; Press Releases, “Inmate Death at FCI Butner
(Low),”        U.S.      DOJ,        Federal      BOP         (Sept.      17,      2020),
https://www.bop.gov/resources/news/pdfs/20200917_press_release_bux.pdf.
26
        COVID-19 Coronavirus, BOP, https://www.bop.gov/coronavirus/ (last visited Nov.
12, 2020).
27
        Franco-Paredes Decl. ¶¶ 25–26; Baston Decl. ¶¶ 22-24; Sullivan Decl. ¶ 23.
28
        Franco-Paredes Decl. ¶ 25 & n.23; Baston Decl. ¶ 22.
29
        Franco-Paredes Decl. ¶ 29 & n.25; Sarah Volpenhein, Marion prison coronavirus
outbreak seeping into larger community, MARION STAR (Apr. 25, 2020), https://www.ma
rionstar.com/story/news/local/2020/04/25/marion-prison-ohio-coronavirus-outbreak-
seeping-into-larger-community/3026133001/; Anat Rubin et al., Inside the U.S.’s Largest
Maximum Security Prison, COVID-19 Raged. Outside, Officials Called Their Fight a
Success., PROPUBLICA (June 24, 2020), https://www.propublica.org/article/inside-the-uss-
largest-maximum-security-prison-covid-19-raged.
30
        Franco-Paredes Decl. ¶¶ 27–28; Baston Decl. ¶ 24 & n.5; Sullivan Decl. ¶ 23.



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       First, prisons typically lack room to allow compliance with CDC social distancing

guidance;31 they are designed for close-quarters, presenting constant opportunity for

transmission.32

       Second, non-porous surfaces, including metal, on which the virus survives33 are

prevalent.34 Given the numbers who touch “high touch areas,” such as shared phones,

tables, chairs, and faucets, CDC guidance dictates almost constant disinfection.35

       Third, prisons are often poorly-ventilated, with poorly-circulating, shared, and

recycled air, further promoting virus spread.36

       Fourth, the manner in which inmates are shuffled makes prisons viral hotbeds.

Specifically, to “quarantine” COVID-19-positive or suspected cases, inmates are often

segregated in disciplinary units (e.g. solitary confinement) or in cohort groups in singular

open locations.37 These measures are problematic because: (1) using disciplinary




31
        Franco-Paredes Decl. ¶ 27; United States v. Rodriguez, 451 F. Supp. 3d 392, 402–
03 (E.D. Pa. 2020).
32
        Franco-Paredes Decl. ¶ 32; Bohnenkamp Decl. ¶¶ 13, 18; Brooks Decl. ¶ 8; Casarez
Decl. ¶ 9; Dubray Decl. ¶ 15.
33
        The virus is thought to survive twenty-four hours on cardboard, two days on plastic,
and three days on steel. Neeltje van Doremalen et al., Correspondence, Aerosol & Surface
Stability of SARS-CoV-2 as Compared with SARS-CoV-1, NEW ENGLAND J. MED. (Mar.
17, 2020), https://www.nejm.org/doi/full/10.1056/NEJMc2004973..
34
        Franco-Paredes Decl. ¶ 28.
35
        Franco-Paredes Decl., ¶ 28; Sullivan Decl. ¶¶ 24, 38.
36
        Franco-Paredes Decl. ¶ 32. Unit A’s basement, for example, is windowless; fans
circulate air throughout. Walker Decl. ¶ 19.
37
        Franco-Paredes Decl. ¶ 31; Sullivan Decl. ¶¶ 20, 27.



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mechanisms deters self-reporting symptoms, contributing to viral spread,38 (2) cohorting

exposes individuals to higher viral loads, linked to more severe disease outcomes,39 and

(3) moving staff, inmates, contractors, and others throughout prisons risks further cross-

contamination.40

III.   Respondents’ spread of COVID-19 at FCI-Waseca.

       Due to Respondents’ refusal to implement basic CDC recommendations, when

COVID-19 came to FCI-Waseca, it spread like wildfire: by October 2020, approximately

454 inmates, or more than 70%, had tested positive.41 By comparison, by the end of

October, less than 3% of Minnesota residents had tested positive.42 Rather than protecting

the inmates in their care, Respondents started, and then stoked, the fire.

       Respondents’ failure to reduce the population exacerbated inmates’ inability to

socially distance. FCI-Waseca’s quarters are tight for its 635 residents.43 Inmates live in

“ranges” in one of five units (A-E). Within each range are bedrooms, most with multiple

bunkbeds a few feet apart,44 and communal toilets, sinks, showers, phones, and


38
        Franco-Paredes Decl. ¶ 31; Sullivan Decl. ¶ 28.
39
        Franco-Paredes Decl. ¶ 33 & notes, 19 supra.
40
        Franco-Paredes Decl. ¶ 29; Sullivan Decl. ¶ 26.
41
        COVID-19 Coronavirus, note 26 supra.
42
        U.S. Census Bureau, Quick Facts Minnesota; Minnesota Coronavirus Map and
Case Count, https://www.census.gov/quickfacts/MN; Weekly COVID-19 Report, MN
Dept.             of            Health             (Oct.          29,         2020),
https://www.health.state.mn.us/diseases/coronavirus/stats/covidweekly44.pdf.
43
        See    Generate     Inmate       Population     Reports,   Facility: Waseca,
https://www.bop.gov/about/statistics/population_statistics.jsp.
44
        For example, one 10-by-15-foot room in Unit A contains five bunkbeds.
Bohnenkamp Decl. ¶ 18; Inabnit Decl. ¶ 32; Brooks Decl. ¶ 8.



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computers.45 Inmates must closely congregate to receive meals and medications, watch

television, or use the computers and telephones, which are infrequently disinfected.46

Social distancing is impossible.47 Meanwhile, in July, UNICOR48 doubled its FCI-Waseca

workforce, crowding an already-packed warehouse with inmates working within arm’s

length.49 Inmates working at UNICOR have tested positive and, accordingly, exposed

fellow workers.50

      Because prisons like FCI-Waseca aren’t equipped to comply with CDC guidelines,

health experts recommend medically-vulnerable individuals be released, protecting them

and, simultaneously, leaving remaining inmates better able to follow CDC guidance.51

Respondents had the power to follow this guidance and release inmates under the




45
        Bohnenkamp Decl. ¶ 13; Dubray Decl. ¶ 25; Hemicker Decl. ¶ 7; Inabnit Decl. ¶ 31.
Around 50 inmates on the top floor of Unit A share four toilets and two showers (the other
showers are non-operational). Kasowski Decl. ¶ 13.
46
        Brooks Decl. ¶¶ 46-50, 64. Sixteen inmates share the 10-by-15-foot common area
in Unit A’s basement. Bohnenkamp Decl. ¶ 22.
47
        See, e.g., Bohnenkamp Decl. ¶ 9; Casarez Decl. ¶¶ 9, 23; DuBray Decl. ¶ 15;
Hemicker Decl. ¶ 7.
48
        UNICOR/Federal Prison Industries, Inc., is a government-owned corporation.- Its
revenues        exceeded       $600       million     in        2018       and       2019.
https://www.unicor.gov/publications/reports/FY2019_AnnualMgmtReport.pdf at 16. Its
prisoner employees make less than $1/hour. Hemicker Decl. ¶ 18.
49
        Sorenson Rafai Decl. ¶¶ 6-7; Hemicker Decl. ¶¶ 15, 17; Kasowski Decl. ¶ 17;
Williams Decl. ¶ 18.
50
        Kasowski Decl. ¶ 18.
51
        Franco-Paredes Decl. ¶¶ 35, 55–56; Baston Decl. ¶ 116; Sullivan Decl. ¶ 33; Malam
Exh. 8, ¶ 47.



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Coronavirus Aid, Relief, and Economic Security (“CARES”) Act or the compassionate

release statute.

       Congress passed the CARES Act authorizing BOP to lengthen the time prisoners

can be home-confined, provided the Attorney General (“AG”) finds “emergency conditions

will materially affect the functioning of the Bureau.” Pub. L. 116-136. AG Barr so found

on April 3 and directed BOP to “move with dispatch in using home confinement . . . to

move vulnerable inmates out of these institutions,” and to “begin implementing this

directive immediately,” noting “time is of the essence.”52

       On April 22, BOP purported to interpret AG Barr’s guidance, but significantly

curtailed those who qualify for home confinement.53 Respondents imposed unnecessary

and impractical barriers to release, including (but not limited to), requiring inmates to show

they would have both a lower risk of contracting COVID-19 outside the prison and a 90-

day supply of medication.54 While BOP doesn’t publish the numbers of home confinement

denials, Petitioners’ experiences show it used arbitrary and inconsistently-applied factors.

       For example, after Petitioner Ramos applied for home confinement in April, she

was informed she was ineligible because she hadn’t served 50% of her sentence, a criterion



52
       Office of the AG, Increasing Use of Home Confinement at Insts. Most Affected by
COVID- 19 (Apr. 3, 2020), https://www.fd.org/sites/default/files/covid19/bop_jail_polici
es_and_information/barr_memo_caresact_apr3_2020.pdf, (“Barr Mem.”) at 1, 2.
53
       Mem. from Corr. Programs Div. Acting Assistant Director Andre Matevousian &
Reentry Servs. Div. Assistant Director Hugh J. Hurwitz to Chief Exec. Officers (Apr. 22,
2020) (“BOP Mem.”), ps://www.bop.gov/coronavirus/docs/bop_memo_home_confineme
nt_april3.pdf.
54
       BOP Mem., note 52 supra.



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Respondent Carvajal created to “triage” CARES Act release.55 Around that time, however,

BOP released Paul Manafort after he had served only 30% of his time.56 By October,

Ramos had served more than half her sentence and reapplied.57 But by then, BOP was only

approving inmates with a “minimum” security level—a level Ramos did have in June,

before BOP changed how it assessed security levels.58 Meanwhile, Williams was given two

release dates, only to have those reversed for “safety concerns,” though she has no prior

convictions for violent offenses.59 Similarly, Casarez received a home-confinement date,

only to have her release blocked.60 Respondent Starr approved Brooks for home

confinement but that decision was also reversed.61 Thus, despite the CARES Act’s explicit

authority to home confine any inmate, and despite AG Barr’s direction for immediate

action, Respondents’ use of their authority has been unnecessarily restrictive.62.

       Respondents also failed to reduce population under 18 U.S.C. § 3582(c)(1)(A),

through     “compassionate release.” This statute allows BOP to request prison-term


55
       Ramos Decl. ¶ 20; see also Testimony by BOP Director Carvajal to U.S. Senate
Judiciary Committee at 2:02:50-2:03:05 (June 2, 2020), https://www.c-
span.org/video/?472615-1/senate-judiciary-hearing-prison-safety-coronavirus-pandemic.
56
       Justine Coleman, Manafort Released to Home Confinement due to coronavirus
concerns, THE HILL (May 13, 2020), https://thehill.com/regulation/court-battles/497495-
manafort-released-to-home-confinement-due-to-coronavirus-concerns.
57
       Ramos Decl. ¶ 20.
58
       Id.
59
       William Decl. ¶ 32, Ex. A at 14.
60
       Casarez Decl. ¶ 27.
61
       Brooks Decl. ¶ 13.
62
       See, e.g., Williams Decl. ¶; Ramos Decl. ¶ 20; Bohnenkamp Decl. ¶ 27; Casarez
Decl. ¶ 27.



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reductions when “extraordinary and compelling reasons” exist. 18 U.S.C. §

3582(c)(1)(A)(i), Since the COVID-19 crisis began, it doesn’t appear BOP has updated its

policies regarding “extraordinary and compelling reasons” warranting a prison-term

reduction. Moreover, it doesn’t appear Respondents make good use of their compassionate

release authority.63

        By failing to release eligible inmates to allow for social distancing—the “most basic

and imperative method to control the spread of COVID-19”64—Respondents disregarded

the substantial risk that COVID-19 posed to Petitioners and other medically-vulnerable

inmates at FCI-Waseca. And instead of decreasing the population, Respondents bused-in

more.

        Respondents knowingly contaminated infection-free living units. According to a

BOP-staff union complaint filed with OSHA (“OSHA Complaint”), BOP “continuously

mov[es] inmates by bus and/or airlift to various prison sites [including FCI-Waseca]

[,] . . . authorize[s] movement of infected inmates, inmates suspected of being infected,

inmates who have been [exposed], . . . to facilities that otherwise have not shown signs of

any introduction of the virus, thus introducing the virus into an uninfected area.”65.




63
      See, Kasowski Decl. ¶ 22, Ex. A at 3, 7; Casarez Decl. ¶ 28; Williams Decl. ¶ 33,
Ex. A at 1-3; Inabnit Decl. ¶¶ 26-27, Exs. B, D.
64
      Sullivan Decl. ¶ 23.
65
      Notice of Alleged Safety or Health Hazards, OSHA, U.S. Dep’t of Labor (Mar. 31,
2020), https://www.afge.org/globalassets/documents/generalreports/coronavirus/4/osha-
7-form-national-complaint.pdf; see, e.g., Keegan Hamilton, ‘Con Air’ is Spreading
COVID-19                                                                            All


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       That’s exactly what happened at FCI-Waseca: In August, Respondents imported

inmates from Grady County Jail, Oklahoma, despite its known reports of COVID-19.66

Worse, when asking these inmates whether they’d been exposed to COVID-19, FCI-

Waseca staff encouraged them to answer “no.”67 Petitioner Inabnit told a nurse she had

COVID-19 symptoms (a runny nose, headache and body aches)—yet was placed with 21

other newly-arrived inmates in the dormitory-style rooms of Unit A.68 Within days, nearly

all these new inmates tested positive.69

       Less than three weeks later, all but 29 of the 100-plus inmates in Unit A, new and

old alike, tested positive. Those who weren’t positive were locked in the basement range;

ultimately all but about eight in Unit A contracted COVID-19.70 As one FCI-Waseca

corrections officer acknowledged, Respondents’ decision to bring “positive inmates into a

facility that doesn’t have any infections and watching it erupt—there’s no denying it’s a

screw-up. It just blows my mind they did this.”71

       Respondents then stoked the fire they lit—nonsensically, they transferred healthy

inmates into infected ranges, and refused to transfer healthy inmates out of infected ranges.



Over the U.S. Prison Sys., VICE NEWS (Aug. 13, 2020), https://www.vice.com/en/article/
wxqbzw/con-air-is-spreading-covid-19-all-over-the-us-prison-system.
66
       At least one of them—Petitioner Inabnit—had written grievances about the
appalling and risky conditions at the jail. Inabnit Decl. ¶¶ 6, 7.
67
       See id. ¶ 15.
68
       See id. ¶ 15.
69
       Id. ¶ 17.
70
       See Dubray Decl. ¶ 24.
71
       Super-Spreader Jail, note 1, supra.



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For example, in October, FCI-Waseca told Petitioner Reed it intended to transfer her from

Unit E—the only COVID-19-free unit—to Unit A, COVID-19 ground-zero.72 The

explanation was that Unit A is the low-security camp unit at FCI-Waseca and Reed

qualified for it.73 When Reed understandably objected, she was threatened with being

locked in the Special Housing Unit (“SHU”),74 usually used for punishment.75 Conversely,

Respondents refused Petitioner Kasowski’s request to move from the highly-infected camp

unit, because she wasn’t “disruptive” enough to leave the minimum-security setting.76

      Respondents, in effect, punish inmates for contracting COVID-19, deterring self-

reporting. Respondents locked COVID-19-positive and newly-arrived inmates in the

SHU.77 Normally used for punishment, its inmates are denied their personal property and

only have blankets, mattresses, pillows, and hygiene items.78 The SHU rooms are small,

concrete, and stuffy;79 at least one has black mold.80 Each has a door with a tiny window

and a slot for food trays.81 Most contain a bunkbed with mattresses no thicker than a yoga


72
       Reed Decl. ¶¶ 32-33.
73
       Id. ¶ 33.
74
       Id. ¶ 36.
75
       Caserez Decl. ¶ 17.
76
       Kasowski Decl. ¶¶ 5, 21.
77
       Sorenson Rafai Decl. ¶¶ 12, 19; Martin Decl. ¶ 7 Ramos Decl. ¶¶ 10, 15; Williams
Decl. ¶ 12; Inabnit Decl. ¶¶ 16, 20; Walker Decl. ¶ 4; Casarez Decl. ¶ 17.
78
       Fed. Corr. Inst., Waseca, Minn., Admissions & Orientation Handbook (revised Mar.
14, 2017) (“FCI- Waseca Handbook”) at 51, https://www.bop.gov/locations/institutions/
was/was_ao_handbook_eng_031517.pdf.
79
       See Martin Decl. ¶ 12; Walker Decl. ¶ 9; Inabnit Decl. ¶ 19.
80
       Walker Decl. ¶ 7.
81
       Martin Decl. ¶ 12.



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mat,82 a concrete-slab table, stool, and built-in toilet and shower.83 Above eye-level is a

small window.84

       After testing positive or arriving at FCI-Waseca, some Petitioners were brought in

handcuffs to the SHU and treated as if being punished. They were forced to change from

general-population clothing into orange SHU uniforms.85 They weren’t allowed to leave

the room, except to go to a dirty supply closet to use a nebulizer.86 Nor were they allowed

personal property.87 While there, most weren’t able to call family or attorneys.88 Although

SHU inmates are entitled to receive the same meals as the general population,89 at least one

Petitioner was served moldy food and expired milk.90 Perhaps worse, Respondents placed

medically-vulnerable prisoners in the SHU alongside infected prisoners and failed to

distinguish for staff who was and wasn’t infected.91

       Respondents have failed to provide adequate PPE and cleaning supplies. Before

and during the outbreak, inmates received untreated cotton masks made by UNICOR that


82
       Ramos Decl. ¶ 12; Martin Decl. ¶ 12.
83
       Ramos Decl. ¶ 12.
84
       Martin Decl. ¶ 12.
85
       Martin Decl. ¶ 11.
86
       Martin Decl. ¶ 13; Williams Decl. ¶ 13.
87
       Sorenson Rafai Decl. ¶¶ 12, 16; see also Martin Decl. ¶ 14; Williams Decl. ¶ 11;
Ramos Decl. ¶ 15.
88
       Williams Decl. ¶ 14; Martin Decl. ¶ 13; Inabnit Decl. ¶ 20 (stating Respondent Starr
didn’t consider COVID-19 “detrimental enough” for prison staff to inform emergency
contacts of prisoner’s sickness).
89
       FCI-Waseca Handbook, note 77 supra.
90
       Martin Decl. ¶ 16.
91
       Reed Decl. ¶ 23; Walker Decl. ¶ 5.



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fall apart and are prohibited from making improved versions for themselves.92 Meanwhile,

staff were initially given only gloves (not masks or other PPE), including when interacting

with inmates being transported for hospitalization.93 Even now, mask wearing isn’t

enforced, and some staff refuse inmate requests to wear one.94

       Beyond the flimsy masks and failure to enforce their use, Respondents haven’t

provided adequate PPE or sufficient cleaning supplies,95 even though inmates maintain

responsibility for cleaning and sanitizing their spaces.96 Petitioner Bohnenkamp resorted

to wiping down high-touch surfaces with sanitary napkins.97 Respondents also fail to give

inmates responsible for cleaning common areas gloves,98 training to ensure compliance

with CDC standards, and sufficient opportunities to clean. The few hand-sanitizing stations

available to inmates are frequently empty.99




92
        See Kasowski Decl. ¶ 16; Brooks Decl. ¶ 52.
93
        Joseph Neff & Keri Blakinger, Fed. Prisons Agency “Put Staff in Harm’s Way” of
Coronavirus: Orders at Oakdale La. Help Explain COVID-19 Spread, THE
MARSHALL PROJECT (Apr. 3, 2020), https://www.themarshallproject.org/2020/04/03/fede
ral-prisons-agency-put-staff-in-harm-s-way-of-coronavirus.
94
        See Bohnenkamp Decl. ¶ 24; Williams Decl. ¶ 7; Brooks Decl. ¶¶ 51, 53; Walker
Decl. ¶ 19; Casarez Decl. ¶ 14; Inabnit Decl. ¶ 33.
95
        See Bohnenkamp Decl. ¶ 20; Kasowski Decl. ¶ 13; Brooks Decl. ¶ 43.
96
        FCI-Waseca Handbook, note 77 supra.
97
        Williams Decl. ¶ 30; Bohnenkamp Decl. ¶ 20.
98
        Cleaning & Disinfecting Your Facility – How to clean and disinfect,
https://www.cdc.gov/coronavirus/2019-ncov/community/disinfecting-building-
facility.html; Williams Decl. ¶ 31.
99
        Brooks Decl. ¶ 33.



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       Respondents permit staff to move regularly between infected and quarantine ranges

and virus-free areas. Respondents haven’t required staff to properly use and dispose of

PPE, even after going into ranges where women have tested COVID-19 positive.100

Further, Respondents permit staff to move between infected and uninfected ranges, rather

than assigning staff to specific ranges to reduce cross-contamination.101

       Perhaps the most egregious example of Respondents’ dangerous practices involves

Officer “W.” Before the cafeteria reopened on November 23, Officer W served food trays

in Unit A’s infected ranges and then served uninfected ranges. Officer W requested

assistance because she was recovering from COVID-19 and had trouble breathing.102 She

enlisted help from inmate “G,” who helped Officer W deliver trays.103 Despite contracting

COVID-19 around September 9, G was back delivering trays by September 12.104 Days

later, more Unit A inmates fell ill.105

       The OSHA Complaint highlights Respondents’ blatant disregard of CDC guidelines

and the risk of staff spreading the virus to inmates. It states BOP directed staff “who have

come in contact with, or been in close proximity to, prisoners who show or have shown



100
       Reed Decl. ¶ 20; Dubray Decl. ¶ 22; Sorenson Rafai Decl. ¶ 9; Walker Decl. ¶ 19;
Bohnenkamp Decl. ¶ 17; Brooks Decl. ¶ 20; Ramos Decl. ¶¶ 24, 37; Williams Decl. ¶ 29.
101
       Brooks Decl. ¶ 20; Reed Decl. ¶ 20; Ramos Decl. ¶ 7; Hemicker Decl. ¶ 23; Dubray
Decl. ¶ 22; Kasowski Decl. ¶ 18.
102
       Hemicker Decl. ¶ 13.
103
       Hemicker Decl. ¶¶ 13-14; Dubray Decl. ¶ 23.
104
       Hemicker Decl. ¶ 14; Dubray Decl. ¶ 23.
105
       Dubray Decl. ¶ 23 (tested positive for COVID-19 on Sep. 18, 2020); Hemicker
Decl. ¶ 14.



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symptoms of COVID-19 to report to work and not be self-quarantined for 14 days per the

CDC guidelines.”106 In an apparent response, BOP confirmed such employees were

required to work, but with masks.107 And BOP has continuously refused to test its staff for

COVID-19.108

IV.   Respondents have failed to provide adequate medical care to infected inmates.

      Respondents’ indifference to the spread of a deadly virus is bad enough, but

Respondents also exhibit callous disregard for the health of inmates who contract COVID-

19. Examples are shocking in nature and number:

            FCI-Waseca waited three days before hospitalizing Petitioner Malcolm, even
             though she was vomiting, coughing-up blood, and unable to feed herself.109
             When finally rushed to the hospital, she had double pneumonia in both lungs.
             The doctor told her “my friend, I have to paralyze you and put you on a
             ventilator or you are going to die.”110

            After Malcolm was discharged from a 10-day hospitalization, she was locked
             in a “respiratory room” in the medical unit at FCI-Waseca for two weeks.
             She couldn’t call family or have her property. She only received medical
             attention when she reminded staff to take her vitals. FCI-Waseca didn’t




106
        OSHA Complaint (emphasis added), note 64 supra.
107
        Correcting Myths & Misinformation about BOP & COVID-19, BOP (Apr. 11,
2020) at 3, https://www.bop.gov/coronavirus/docs/correcting_myths_and_misinformation
_bop_covid19.pdf (“BOP performs pre-screening of all employees reporting to work and
requires exposed workers to wear a mask for 14 days after last exposure.”).
108
        Prison Safety During Coronavirus Pandemic, Hrg. Before S. Jud. Comm. (June 2,
2020) at 1:05:57-1:06:00 (statement of BOP Med. Director Dr. Jeffrey Allen),
https://www.c-span.org/video/?472615-1/senate-judiciary-hearing-prison-safety-
coronavirus-pandemic; Casarez Decl. ¶ 13.
109
        Malcolm Decl. ¶¶ 5-8. 11-12, 14-15; see also Ramos Decl. ¶ 23.
110
        Malcolm Decl. ¶ 12.



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             provide her assistance in dressing or getting in bed, forcing her to sleep on
             the floor. For days, she had no pillow or extra blanket, despite the chill.111

            Pain-relief for Petitioners in the SHU with COVID-19 symptoms such as
             severe headaches and body aches was delayed, and in some situations,
             completely denied. Petitioners requesting pain-relief were told to wait to buy
             medication from the commissary on a specified day. Some waited days for
             basic medication like Tylenol or even an inhaler.112 Others didn’t receive
             pain medication or their prescriptions their entire time in the SHU.113 They
             were given shots and nebulizer treatments in unsanitary places like mop
             closets or staff bathrooms.114

            Respondents give steroid shots to COVID-19-positive inmates, despite this
             being contraindicated in mild cases of the disease.115 Either (1) Respondents
             are giving a contraindicated treatment to COVID-19-positive inmates with
             mild cases or (2) the cases aren’t actually “mild” and require outside medical
             professionals to determine the appropriate course of treatment. If the former,
             Respondents subject the inmates to risk of worse outcomes. If the latter,
             Respondents are withholding necessary medical care.116

            Respondents shut down the medical unit due to COVID-19, requiring
             Petitioners to submit paperwork—“sick call”—to request help. Sick calls are
             routinely unanswered.117 Prescriptions go unfilled.118 Medical staff has
             attended to an inmate only after a guard or caseworker is so alarmed by her




111
       Id. ¶¶ 16-18.
112
       Inabnit Decl. ¶ 19; Bohnenkamp Decl. ¶ 15; Dubray Decl. ¶ 28; Hemicker Decl.
¶ 19; Kasowski Decl. ¶¶ 9, 10.
113
       Sorenson Rafai Decl. ¶ 17; Williams Decl. ¶ 13.
114
       Bohnenkamp Decl. ¶ 14; Casarez Decl. ¶ 19; Dubray Decl. ¶ 32; Ramos Decl. ¶ 21;
Williams Decl. ¶ 24.
115
       Baston Decl. ¶¶ 55, 118.
116
       Baston Decl. ¶ 118.
117
       Kasowski Decl. ¶¶ 8, 10; Williams Decl. ¶¶ 15-16; Malcolm Decl. ¶¶ 5, 8; Inabnit
Decl. ¶ 29.
118
       Kasowski Decl. ¶ 10.



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              condition they personally seek help.119 Even calls from emergency phones
              by inmates on behalf of ailing roommates don’t result in immediate care.120


V.     Respondents are placing Petitioners at grave risk.

       Each Petitioner121 suffers from at least one comorbidity that increases their risk of

serious illness or death from COVID-19, according to the CDC.122 These women did

nothing to deserve a death sentence or the lingering repercussions of COVID-19. Yet,

because BOP “is continuing to make critical errors in its handling of COVID-19,”123 the

threat to Petitioners remains ongoing and acute.

       At current population, inmates at FCI-Waseca cannot comply with CDC guidelines

for social distancing, a “cornerstone” of risk reduction in prisons.124 But Respondents

refuse to take available steps to protect the inmates, for example, by transferring to home


119
       Malcolm Decl. ¶ 11; Ramos Decl. ¶ 27; Williams Decl. ¶ 9.
120
       Dubray Decl. ¶ 19; Casarez Decl. ¶ 24; Brooks Decl. ¶¶ 25-27; Casarez ¶¶ 15, 24.
121
       Bohnenkamp Decl. ¶ 16 (Hepatitis C, Adult Onset Stills Disease, autoinflammatory
disease); Brooks Decl. ¶ 10 (Graves Disease (autoimmune disease), hypothyroidism,
hypertension); Casarez Decl. ¶ 5 (BMI of 42, hypothyroidism, hypertension); Dubray Decl.
¶ 3 (BMI of 34, anemia, persistent cough); Hemicker Decl. ¶ 3 (BMI of 44.8, borderline
diabetic); Inabnit Decl. ¶ 35 (BMI of 38.3, diverticulitis); Kasowski Decl. ¶ 3
(hypertension, BMI of 33); Malcolm Decl. ¶ 3 (Type II diabetes, stress-induced
cardiomyopathy, asthma, BMI of 34.3); Martin Decl. ¶ 5 (moderate to severe asthma);
Ramos Decl. ¶ 31 (hypertension, BMI of 57.1); Reed Decl. ¶ 29 (smoker); Sorenson Rafai
¶ 3 (hypertension, BMI of 44.8); Walker Decl. ¶ 6 (hypertension, chronic asthma);
Williams Decl. ¶ 4 (chronic kidney disease-stage 3, hypertension, asthma, prediabetic).
122
       Baston Decl. ¶¶ 34-115; Sullivan Decl. ¶ 13.
123
       Sullivan Decl. ¶¶ 13, 15, 16, 18-31.
124
       See Interim Guidance on Mgmt. of Coronavirus Disease 2019 in Corr. & Detention
Facilities, Ctrs. for Disease Control & Prevention (Mar. 23, 2020), at 4 (“CDC Interim
Corr. Facility Guidance”), https://www.cdc.gov/coronavirus/2019- ncov/community/corr
ection-detention/guidance-correctional-detention.html.



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confinement non-violent and medically-vulnerable inmates.125 Meanwhile, Respondents

are actually repealing protections previously instituted. They reopened the cafeteria126 and

Unit B inmates (rather than staff) serve food facility-wide.127 UNICOR not only reopened

but announced mandatory overtime, so hundreds from different units sit elbow-to-elbow

for nearly 70 hours per week.128 And Respondents continue to bus in new, possibly-infected

inmates.129 These inmates are placed together in a Unit A range, which is exactly how the

first outbreak began.130

       Although Respondents consider infected inmates “recovered” after 10-14 days, the

science—and many of Petitioners’ experiences—show they’re wrong.131 Even months after

contracting COVID-19, many Petitioners are still sick, using nebulizers, suffering asthma

attacks, getting steroid shots, taking antibiotics, and requiring chest x-rays.132 But even

those without lingering symptoms face worse outcomes if they are re-infected with the

virus.133 By mid-December, the speculative 90-day immunity period for all Petitioners who



125
       Reed Decl. ¶¶ 29-30; Rafai Decl. ¶ 3; Walker Decl. ¶ 6; Bohnenkamp Decl. ¶ 16;
Brooks Decl. ¶ 10-11; Dubray Decl. ¶ 3; Hemicker Decl. ¶ 3; Inabnit Decl. ¶ 34; Kasowski
Decl. ¶ 3; Malcolm Decl. ¶¶ 1, 3, 14-15; Ramos Decl. ¶¶ 14, 31; Williams Decl. ¶¶ 4, 6.
126
       Brooks Decl. ¶ 46; Walker Decl. ¶ 23; Reed Decl. ¶ 35.
127
       Brooks Decl. ¶ 46; Reed Decl. ¶¶ 16-18.
128
       Hemicker Decl. ¶¶ 17-18.
129
       Reed Decl. ¶ 22; Hemicker Decl. ¶ 24; Inabnit Decl. ¶ 37.
130
       See Martin Decl. ¶ 33; Malcolm Decl. 27.
131
       Sullivan Decl. ¶ 29.
132
       See Sorenson Rafai Decl. ¶ 22; Ramos Decl. ¶ 28; Hemicker Decl. ¶¶ 16; Malcolm
Decl. ¶ 31.
133
       Franco-Paredes Decl. ¶ 22; Baston Decl. ¶ 21; Malam Exh. 8, ¶ 28.



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contracted COVID-19 will have expired.134 The time to protect them is now, before it’s too

late.

                                      Legal Standards

        Under Federal Rule of Civil Procedure 65, temporary or preliminary relief is

appropriate when the movant establishes: (1) a likelihood of success on the merits;

(2) irreparable harm in the absence of the requested relief; (3) the balance of the hardship

tips in its favor; and (4) that its request is in the public interest. See S.B. McLaughlin & Co.

v. Tudor Oaks Condo. Project, 877 F.2d 707, 708 (8th Cir. 1989) (citing Dataphase Sys.

Inc. v. CL Sys., 640 F.2d 109 (8th Cir. 1981)).

        Courts may issue injunctions benefitting nonparties before class certification. Cf.

Califano v. Yamasaki, 442 U.S. 682, 702 (1979); see also Meyer v. Brown & Root Constr.

Co., 661 F.2d 369, 374 (5th Cir. 1981) (injunctions benefitting nonparties may be proper);

Bresgal v. Brock, 843 F.2d 1163, 1171 (9th Cir. 1987) (class-wide relief may be appropriate

even in individual actions); Carmichael v. Birmingham Saw Works, 738 F.2d 1126, 1136

(11th Cir. 1984) (injunctions may benefit nonparties and class-wide injunctions may be

appropriate in individual actions).




134
       Ramos Decl. ¶¶ 10-11 (8/31 positive test); Sorenson Rafai Decl. ¶ 11 (8/31 positive
test); Williams Dec. ¶ 7 (8/31 positive test); Inabnit Decl. ¶ 16 (8/21 positive test );
Bohnenkamp Decl. ¶ 3 (9/1 positive test ); Casarez Decl. ¶ 20 (mid-September positive
test); Dubray Decl. ¶ 18 (9/18 positive test); Hemicker Decl. ¶ 3 (9/9 positive test);
Kasowski Decl. ¶ 6 (9/9 positive test).


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                                        Argument

I.     Petitioners will likely succeed on the merits.

       A.     Respondents are violating Petitioners’ Eighth Amendment rights.

       The Eighth Amendment guarantees prisoners “humane conditions of confinement.”

Farmer v. Brennan, 511 U.S. 825, 832 (1994). It “requires that inmates be furnished with

the basic human needs, one of which is reasonable safety[,]” and it’s “cruel and unusual

punishment to hold convicted criminals in unsafe conditions.” Helling v. McKinney, 509

U.S. 25, 33 (1993) (internal marks and citations omitted). Thus, “[d]eliberate indifference

to [the] serious medical needs of prisoners” runs afoul of the Eighth Amendment’s

guarantee. Estelle v. Gamble, 429 U.S. 97, 104 (1976) (citing Gregg v. Georgia, 428 U.S.

153, 173 (1976)).

       Eighth Amendment claims involve a two-pronged inquiry. Helling, 509 U.S. at 35-

37. The first, objective prong, is whether “society considers the risk that the prisoner

complains of to be so grave that it violates contemporary standards of decency to expose

anyone unwillingly to such a risk. In other words, the prisoner must show that the risk of

which he complains is not one that today’s society chooses to tolerate.” Id. at 36.

       The second, subjective prong requires “inquiry into the prison officials’ state of

mind” based on the “deliberate indifference” standard. Id. at 32. An official is deliberately

indifferent if he “knows of and disregards an excessive risk to inmate health or safety; the

official must both be aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists, and he must also draw the inference.” Farmer, 511

U.S. at 837; see also Davis v. Oregon Cty., 607 F.3d 543, 548 (8th Cir. 2010). A “prison


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official may be held liable under the Eighth Amendment for [acting with ‘deliberate

indifference’ to inmate health or safety] only if he knows that inmates face a substantial

risk of serious harm and disregards that risk by failing to take reasonable measures to abate

it.” Farmer, 511 U.S. at 847. See also DeGidio v. Pung, 920 F.2d 525, 533 (8th Cir. 1990)

(intentional deprivation of medical care isn’t required; responding to a disease “outbreak

with a series of negligent and reckless actions” is sufficient).

       The first prong is satisfied—COVID-19 has led entire nations to shut-down to avoid

its risks. Courts consistently find the risk of COVID-19 satisfies the first prong. See, e.g.,

Wilson v. Williams, 961 F.3d 829, 840 (6th Cir. 2020); Banks v. Booth, 459 F. Supp. 3d

143, 153-54 (D.D.C. 2020); Martinez-Brooks v. Easter, 459 F. Supp. 3d 411, 440 (D. Conn.

2020); Wragg v. Ortiz, 462 F. Supp. 3d 476, 507 (D.N.J. 2020).

       The second prong is also satisfied. First, Respondents have been on notice for

months of the dangerous risk created by COVID-19. In mid-March, the WHO declared

COVID-19 a “pandemic,” and President Trump and Governor Walz declared peacetime

emergencies.135 On April 3, AG Barr acknowledged “significant levels of infection at

several [BOP] facilities.”136 Indeed, BOP’s ten-phase “action plan” demonstrates

Respondents knew COVID-19 posed substantial risks to prisoners—“[We] ha[ve] been

planning for coronavirus (COVID-19) since January 2020.”137 See also, Wilson, 961 F.3d




135
     See notes 4, 5, supra.
136
     Barr Mem. at 1, note 52, supra.
137
     Fed. Bureau of Prisons COVID-19 Action Plan, BOP (updated Mar. 13, 2020)
(emphasis added), https://www.bop.gov/resources/news/20200313_covid-19.jsp.


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at 840 (holding, on June 9, “[t]here is no question that the BOP was aware of and

understood the potential risk of serious harm to inmates at [the facility] through exposure

to the COVID-19 virus.”); Martinez-Brooks, 459 F. Supp. 3d at 441 (holding, on May 12,

“it cannot be disputed that the Respondent Warden knew of the substantial risk of serious

harm posed by the COVID-19 outbreak at [the facility]”).

       Second, it quickly became clear Respondents’ plans were woefully inadequate. For

example, Phase 3 of Respondents’ “action plan” involved merely moving employees to

telework and inventorying cleaning supplies.138 Yet Respondents failed to recalibrate.139

Worse, the plans proved to be little more than good intentions—worth no more than the

paper they were written on—as Respondents utterly failed to follow through on them. Due

to grievances filed by Petitioners,140 multiple reports from the Office of the Inspector




138
        Press Release, Bureau of Prisons Update on COVID-19, BOP (Mar. 24, 2020),
https://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_covid19_update
.pdf.
139
        The last substantive phase for which Respondents promulgated COVID-19 policies
was Phase 5, effective April 1, 2020. COVID-19 Action Plan: Phase Five, BOP (updated
Mar.                                         31,                                 2020),
https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp. Phases 6
through 8 did little more than extend Phase 5. See Exhibits D-F, Declaration of Jessica
Torgerson, Carrasco v. Fikes, No. 20-CV-01257 (WMW-KMM) (D. Minn. Oct. 23, 2020)
(ECF Nos. 26-4 to 26-6). Phase 9, effective August 5, 2020 (just before the outbreak at
FCI-Waseca), rolled-back COVID-19 safety measures from earlier phases. Mem.,
Coronavirus                                                                   (COVID-
19) Phase Nine Action Plan, BOP (Aug. 5, 2020), https://www.bop.gov/foia/docs/COVI
Dphase9_08052020.pdf.
140
        See, e.g., Williams Decl. ¶¶ 15, 16; Hemicker Decl.¶ 23.



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General, calls from Congress,141 and complaints from their own staff,142 Respondents knew

their policies were inadequate, but failed to change course. In written responses to

Petitioners’ grievances, Respondent Starr parroted boilerplate language, failing to address

their concerns.143 Respondent Starr also ignored in-person pleas for help or further

information.144 These actions—or, more accurately, Respondents’ inaction—are the

epitome of deliberate indifference.

       Prime examples of how Respondents contravened the advice of the AG, the CDC,

and BOP itself include:

             Importing inmates from another facility infected with COVID-19,
              encouraging those inmates to answer “no,” if asked about exposure, and then
              intermingling them with healthy inmates, even when exhibiting
              symptoms.145 This contravened BOP’s COVID-19 Phase Nine plan directing
              isolation of symptomatic inmates.146 Respondents continue importing
              inmates from other facilities.147




141
       See, e.g., Petition, ECF No. 1, ¶¶ 84, 99.
142
       See, e.g., id. ¶ 86; OSHA Compl., note 64 supra.
143
       See, e.g., Ramos Decl. Ex. A at 1, 4; Williams Decl. Ex. A at 4; Hemicker Decl.¶ 23
(Respondent Starr returned a grievance because it didn’t list a date and time).
144
       Walker Decl. ¶¶ 13, 14 (Respondent Starr didn’t address why Walker was in the
SHU for more than three weeks despite never testing positive for COVID-19), Inabnit Decl.
¶ 21 (Respondent Starr didn’t contact infected inmates’ family members because COVID-
19 wasn’t “detrimental enough”).
145
       See Inabnit Decl. ¶ 15; Casarez Decl. ¶ 20; OSHA Compl., note 64 supra.
146
       COVID-19 Phase Nine Action Plan, note 138 supra, at 4.
147
       See Brooks Decl. ¶ 38.


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            Keeping infected/exposed staff working—including, for example, Officer
             W, who served food as she struggled to breathe148—in defiance of CDC
             guidance calling for self-isolation of exposed staff.149 BOP hasn’t denied this
             violation.150

            Failing to provide adequate PPE and cleaning supplies,151 failing to train staff
             and inmate cleaners,152 and failing to enforce proper use and disposal of
             supplies BOP does provide, contrary to CDC guidance to establish PPE
             donning/doffing stations “directly outside spaces requiring PPE” and “[t]rain
             staff to move from areas of lower to higher risk of exposure if they must re-
             use PPE due to shortages.”153

            Expecting inmates to work at UNICOR where it’s overcrowded,154 infected
             workers may intermingle with healthy workers,155 inmates from different
             units interact, and where, early in the pandemic, PPE wasn’t distributed.156

            Showing utter disregard for prisoners who fall ill, including, for example,
             Petitioner Malcolm who wasn’t sent to the hospital for three days even
             though she was vomiting, coughing-up blood and unable to feed herself.157
             Upon returning from a 10-day hospital stay—where she was intubated158—
             Malcolm was locked in a “respiratory room” for two weeks, under deplorable
             conditions.159



148
       Hemicker Decl. ¶¶ 12-13.
149
       OSHA Compl., note 64 supra.
150
       Correcting Myths & Misinformation about BOP & COVID-19, note 106 supra, at 3.
151
       See Bohnenkamp Decl. ¶ 20; Kasowski Decl. ¶ 13; Brooks Decl. ¶ 43.
152
       Williams Decl. ¶ 30; Bohnenkamp Decl. ¶ 20.
153
       CDC Interim Corr. Facility Guidance, note 123 supra.
154
       Sorenson Rafai Decl. ¶¶ 6-7.
155
       Hemicker Decl. ¶ 17; DuBray Decl. ¶ 14; Kasowski Decl. ¶ 18; COVID-19 Phase
Nine Action Plan, note 138 supra, at 4.
156
       Cary Aspinwall et al., Fed. Prison Factories Kept Running as Coronavirus Spread,
THE MARSHALL PROJECT (Apr. 10, 2020), https://www.themarshallproject.org/2020/04/1
0/federal-prison-factories-kept-running-as-coronavirus-spread.
157
       Malcolm Decl. ¶¶ 5-8, 11-12, 14-15; see also Ramos Decl. ¶ 23.
158
       Malcolm Decl. ¶ 12.
159
       Id. ¶¶ 16-18.



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            Failing to meaningfully deploy their statutory authority to release prisoners
             from custody or to home confinement, despite a congressional enactment for
             that very purpose and the AG’s directive to “maximize appropriate transfers”
             “as quickly as possible.”160

      “Having a written policy in place but not fully implemented cannot protect

Defendants from a finding of deliberate indifference.” Banks, 459 F. Supp. 3d at 156. And

yet a (meager) papered file is all Respondents have. Their actions—nay, their inaction—

speak louder than their words and leave no doubt they acted recklessly toward the health

of inmates powerless to save themselves from a deadly virus in a target-rich environment.

Respondents’ conduct was far from reasonable. Indeed, it seems almost designed to

accelerate the rate of COVID-19 spread throughout FCI-Waseca—yet Respondents refuse

to change course nine months into this nightmare.

      These conditions are as bad or worse than those at other prisons where courts found

deliberate indifference. Martinez-Brooks, 459 F. Supp. 3d at 441 (petitioners likely to

succeed on contention failure to implement home confinement “in any meaningful

numbers” was deliberate indifference); Torres v. Milusnic, No. CV 20-4450-CBM-

PVC(x), 2020 U.S. Dist. LEXIS 131446, at *54 (C.D. Cal. July 14, 2020) (petitioners likely

to succeed on Eighth Amendment claims “based on Respondents’ failure to make

meaningful use of the home confinement authority as expanded by the CARES Act or

compassionate release”); Brown v. Plata, 563 U.S. 493, 500-02 (2011) (affirming

conclusion of three-judge district court that prison overcrowding violated Eighth

Amendment and, because no other relief would cure the violations, limiting prison


160
      BOP Mem., note 52 supra.


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population to specific percentage of design capacity, possibly requiring release of some

prisoners). Thus, Petitioners are likely to prevail on their Eighth Amendment claim.

      B.     Respondents are violating the Rehabilitation Act.

      The Rehabilitation Act (“RA”) provides “[n]o otherwise qualified individual with a

disability … shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a); Durand v.

Fairview Health Servs., 902 F.3d 836, 841 (8th Cir. 2018). Implementing regulations

require avoiding unnecessary policies, practices, criteria, or methods having the effect of

discriminating against persons with disabilities. See 28 C.F.R. § 41.51(b)(3)(i).

Discriminatory animus isn’t required—“the type of discrimination Congress sought to

remedy with the RA was the type resulting from ‘thoughtlessness and indifference—of

benign neglect.’” Durand, 902 F.3d at 841 (quoting Alexander v. Choate, 469 U.S. 287,

295 (1985)). The elements of an RA claim are: (1) claimants have a qualified disability,

(2) respondents received federal funding, and (3) respondents failed to make reasonable

modifications accommodating claimants’ disabilities. Durand, 902 F.3d at 841.

      Subclass III Petitioners (and by definition, the Subclass) are individuals with a

qualified disability. The RA incorporates the ADA’s definition of “disability.” 29 U.S.C.

§ 794(a) (citing 42 U.S.C. § 12102, which defines “disability” as including “a physical or

mental impairment that substantially limits one or more major life activities of such

individual”). “Physical or mental impairment” is “[a]ny physiological disorder or

condition, cosmetic disfigurement, or anatomical loss affecting one or more body systems,


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such as neurological, musculoskeletal, special sense organs, respiratory (including speech

organs) cardiovascular, reproductive, digestive, genitourinary, immune, circulatory, hemic,

lymphatic, skin, and endocrine[.]” 29 C.F.R. § 1630.2(h)(1). “Major life activities” include

“caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,

standing, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,

communicating, and working” and “the operation of a major bodily function, including but

not limited to, functions of the immune system, normal cell growth, digestive, bowel,

bladder, neurological, brain, respiratory, circulatory, endocrine, and reproductive

functions.” 42 U.S.C. § 12102(2). See also Richards v. Minnesota, No. CV 13-3029

(JRT/JSM), 2016 U.S. Dist. LEXIS 164655, at *15 (D. Minn. Nov. 29, 2016) (diabetes is

an impairment that may constitute a disability under the ADA “and, by equivalence,” the

RA).

       Petitioners Malcolm (diabetes, stress-induced cardiomyopathy, asthma), Williams

(chronic kidney disease-stage III, hypertension, asthma, major back pain), Brooks (asthma,

hypertension, Graves’ Disease, hyperthyroidism), and Walker (chronic asthma,

hypertension, arthritic knee) each have physical impairments substantially limiting one or

more life activities within the RA’s meaning.161 Accordingly, element (1) is met.

       Petitioners also meet element (2): Respondents, an FCI warden and the BOP

Director, receive Federal financial assistance.162



161
        Malcolm Decl. ¶ 3; Williams Decl. ¶ 4; Brooks Decl. ¶ 10; Walker Decl. ¶¶ 6, 9.
162
        See, e.g., Congressional Research Service, Overview of FY2020 at 1 (Jan. 29, 2020),
https://fas.org/sgp/crs/misc/R45702.pdf.


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       As to element (3), the issue is whether Respondents “failed to provide [the Subclass

III Petitioners] accommodations such that [they were], by reason of [their] disability,

excluded from participation in or denied the benefits of the [prison’s] services, programs,

or activities, or were otherwise subjected to discrimination by the [prison].” Maxwell v.

Olmsted Cty., No. CV 10-3668 (MJD/AJB), 2012 U.S. Dist. LEXIS 17472, at *8 (D. Minn.

Feb. 13, 2012) (finding jail’s failure to provide accessible bathing facilities to disabled

inmate violated ADA) (internal marks and citations omitted); Durand, 902 F.3d at 841

(noting that case law interpreting ADA and RA is interchangeable).

       The Subclass III Petitioners will likely prevail in establishing Respondents failed to

make reasonable accommodations, including failing to mitigate the higher risks Petitioners

face from COVID-19 due to their disabilities, such that they’re being denied participation

in the prison’s services, programs, and activities. For example:

             Malcolm is denied safe access to phones or computers due to Respondents’
              failure to enforce COVID-19 prevention strategies; upon returning from a
              hospital, she was locked in a room for two weeks with no staff to assist with
              walking, dressing, or using the toilet; because she couldn’t climb into bed
              unassisted, she slept on the floor; she stopped taking prescriptions because
              she couldn’t walk to get them; because Respondents don’t enforce mask-
              wearing or social distancing in television rooms, she is denied the ability to
              safely watch television.163

             Williams is denied safe access to the cafeteria because food is prepared by
              inmates from another unit, requiring her to purchase meals from the
              commissary; when she tested positive for COVID-19, she was forced to stay
              in the SHU as if being punished, including being denied access to a phone to
              inform family of her condition, being denied access to her belongings, and



163
       Malcolm Decl. ¶¶ 9, 16, 17, 26, 29.



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              being forced to sleep on the concrete floor because back-pain prevented her
              from accessing the top bunk assigned her.164

             Brooks is denied safe access to the phones and television due to
              Respondents’ failure to enforce COVID-19 prevention strategies; to avoid
              crowds, she must wait to be last to get meals.165

             Walker spent three weeks in the SHU, used to isolate inmates for punishment
              or who test positive for COVID-19, although she fit neither category; while
              there, Respondents denied her phone access, except for two phone calls, and
              access to other parts of the facility, and forced her to sleep on the floor
              because her arthritic knee prevented her from accessing the top bunk
              assigned her.166

       In short, the Subclass III Petitioners are likely to prevail on their claims that

Respondents have discriminated against them in violation of the RA. Because of the higher

risks they face from COVID-19, the only practical accommodation to ensure unlawful

discrimination doesn’t continue is release.

II.    Irreparable harm is likely.

       Loss of constitutional rights, “for even minimal periods of time, unquestionably

constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). Because, as

addressed above, Petitioners will likely prevail on their Eighth Amendment claim, no

further showing of irreparable injury is required. See Portz v. St. Cloud State Univ., 196 F.

Supp. 3d 963, 973 (D. Minn. 2016) (“The denial of a constitutional right is a cognizable

injury, and an irreparable harm”) (citations omitted); accord Pavek v. Simon, No. 19-cv-

3000 (SRN/DTS), 2020 U.S. Dist. LEXIS 103989, at *66 (D. Minn. June 15, 2020).



164
       Williams Decl. ¶¶ 10, 14, 35.
165
       Brooks Decl. ¶¶ 63-64.
166
       Walker Decl. ¶¶ 4, 8-10.


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       Moreover, Petitioners face an additional, obvious risk of irreparable harm in the

form of serious illness or death. See Kai v. Ross, 336 F.3d 650, 656 (8th Cir. 2003) (“[T]he

danger to plaintiffs’ health, and perhaps even their lives, gives them a strong argument of

irreparable injury.”); Henderson v. Bodine Aluminum, Inc., 70 F.3d 958, 961 (8th Cir.

1995) (“It is hard to imagine a greater harm than losing a chance for potentially life-saving

medical treatment.”); Harris v. Blue Cross Blue Shield of Mo., 995 F.2d 877, 879 (8th Cir.

1993) (“We entertain no question but that irreparable injury exist[s]” when the harm

contemplated is “a life threatening illness.”)

       FCI-Waseca is a COVID-19 super-spreader location, and it’s likely only a matter of

time before Petitioners and the Class, all of whom are medically-vulnerable individuals,

contract or re-contract the virus.

       Multiple courts have held that continued imprisonment at COVID-19 hotbeds like

FCI-Waseca will “more likely than not” result in irreparable harm, including courts in the

Eighth Circuit. See Frazier v. Kelley, 460 F. Supp. 3d 799, 845 (E.D. Ark. 2020); see also

Wilson, 961 F.3d at 844 (“The district court correctly noted that inmates at Elkton face a

risk of irreparable injury if they are infected by COVID-19.”); Castillo v. Barr, 449 F.

Supp. 3d 915, 923 (C.D. Cal. 2020); Thakker v. Doll, 451 F. Supp. 3d 358, 369-70 (M.D.

Pa. 2020); Banks, 459 F. Supp. 3d at 159; Martinez-Brooks, 459 F. Supp. 3d at 447-48;

Torres, 2020 U.S. Dist. LEXIS 131446, at *54.




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III.   The balance of equities and the public interest favor releasing vulnerable
       inmates and complying with CDC guidelines.

       When the government opposes the issuance of a temporary restraining order, the

final two factors—the balance of the equities and the public interest—merge. See Nken v.

Holder, 556 U.S. 418, 435 (2009). Both favor preliminary relief here.

       First, Petitioners’ interest in release, subject to appropriate health and safety

precautions, is extremely weighty, for all the reasons discussed above. Petitioners have a

high chance of contracting or re-contracting COVID-19 in Respondents’ custody; they

have a disproportionate chance their infection will be severe, causing long-lasting damage

or even death; and Respondents have demonstrated their unwillingness to provide sick

inmates the care needed for recovery.

       Second, Petitioners’ requested relief is also in the interest of both the public and

Respondents. “[I]t is always in the public interest to protect constitutional rights.” Phelps-

Roper v. Nixon, 545 F.3d 685, 690 (8th Cir. 2008), overruled on other grounds by Phelps-

Roper v. City of Manchester, 697 F.3d 678 (8th Cir. 2012); Planned Parenthood Minn.,

N.D., S.D. v. Rounds, 530 F.3d 724, 752 (8th Cir. 2008) (“[T]he protection of constitutional

rights is always in the public interest.”). Likewise, public interest is served by enforcing

the RA. See Gibson v. Ark. Dep’t of Corr., 265 F.3d 718, 722 (8th Cir. 2001) (the Congress

authorized enforcement of the RA through equitable orders targeting discriminatory

conduct).

       The Government also has a legitimate interest in protecting public health. Gallagher

v. City of Clayton, 699 F.3d 1013, 1019, 1021 (8th Cir. 2012). Granting Petitioners’



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requested relief will protect not only their health, but that of all inmates and employees at

FCI-Waseca. It will also protect the health of the local community. First, reducing the

population at FCI-Waseca will reduce the burden on local hospitals and frontline workers

at a time when COVID-19 rates are spiking by reducing the likelihood of infection in the

first place and by reducing the chance that any outbreak will be widespread. Second,

releasing vulnerable individuals will prevent FCI-Waseca from becoming a vector for

further infections within the community. See Thakker, 451 F. Supp. 3d at 372 (“Efforts to

stop the spread of COVID-19 and promote public health are clearly in the public’s best

interest, and the release of . . . fragile Petitioners from confinement is one step further in a

positive direction.”).

       Petitioners anticipate Respondents will argue there are “law and order” concerns in

releasing inmates. Petitioners’ request, however, contemplates release to home

confinement, where BOP can monitor movement and behavior to ensure compliance with

applicable laws and rules. In any event, with one exception,167 Petitioners are serving

sentences for drug or fraud crimes and, by virtue of their imprisonment at FCI-Waseca,

BOP has presumably assessed all Petitioners as “low” or “minimum” security risks.

IV.    The Court shouldn’t require a bond.

       The Court may waive security. See Richland/Wilkin Joint Powers Auth. v. U.S. Army

Corps of Eng’rs, 826 F.3d 1030, 1043 (8th Cir. 2016). Because (1) important constitutional


167
       The exception is Petitioner DuBray, but she has served 88% of her sentence, and
her current BOP security level is the lowest. See DuBray Decl. ¶ 2. Additionally, she has
completed multiple vocational and educational courses and has no prior criminal history.
See United States v. Dubray, 3:07-cr-30030, Dkt. 39 at 13-14.


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rights of public interest are at stake, (2) Respondents won’t be damaged from wrongful

issuance of a TRO, and (3) Petitioners are indigent wards of the State who cannot afford a

bond, this Court should waive security here.

                                        Conclusion

       Absent this Court’s immediate intervention, Petitioners and the Class will remain at

imminent risk of serious illness and death from COVID-19 as Respondents continue to

violate their constitutional and statutory rights by condemning them to live in close-

quarters without adequate social distancing and other COVID-19 prevention and treatment

measures. For the reasons herein, the Court should order Petitioners’ immediate release

from custody and/or to home confinement. The Court should also order the release or home

confinement of all persons currently or in the future imprisoned at FCI-Waseca during the

COVID-19 pandemic who are either 50 and older or who experience at least one medical

condition that makes them uniquely vulnerable to risk of serious illness or death as a result

of being infected or re-infected with COVID-19.

       In the alternative, the Court should order Respondents to immediately implement

social distancing, quarantine, and hygiene measures, essential to lowering the risk of

COVID-19 disease and death, and modifications necessary for those subclass members

with a qualifying disability under the RA.




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Dated: December 18, 2020           AMERICAN CIVIL LIBERTIES UNION OF
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